                                çV
Page 1 of 2 PageID: 312




                                             -
                                                                  0
                                                                        3                                                  ,0
                                                                  p     0            —
                                                                                                        0
                                                                                                                -.
                                                                  0
                                                                        La                              -
                                                                                                                                                                 —
                                                                  0            —     J          0                           -
                                                                                                                                     0
                                                                                                                                     ‘—
                                                                                                                                                                 f
                                                             U                       La
                                                             z   -
                                                                                     a                                                                   a
                                                                                                                                                                     —
                                                             <         P                    Cl)
                                        :a       -           U
                                        E<                       U                                                         -
                                                                                                                                                    t—           r
                                    <        C               H         Cl
                                                                  a    U       2            a                              C
                                                                                                                                                                 )
                                                             p    a
                                    a                                  a                    a                                                       a
Filed 04/01/13




                                                                               —                                                     —
                                    C
                                    ,
                                    —
                                                             *
                                                             o
                                                                 —
                                                                               —     -lj                                   a                                     /
                                    0                                          —    a                           J    —
                                                                                                                                     a                               a
                                                                                    —       0           -
                                    -
                                    .—
                                    0
                                                                 -
                                                                                    0
                                                                                           —
                                                                                            -)      -           —
                                                                                                                     a     :         C)
                                                                                                                                                    —
                                                                               --
                                    a                                                      0
                                                                                                                                                                     I
                                                                       --                   -
                          c,j                                a         a                   -
                                                                                                                     0
                                                                                                                                          a
                          E                                      U
                                                                  -
                                                                       a                   a        -           C)
                                                                                                                                     C)
                                                                                                                                          C.
                                                                                                                                                                     a
Document 117




                                                                                    C                                                                    —   —J            —
                                    -                                               C)
                          LL                                                                                                              C)
                                                                 -     :       N                                     a    0                                  —
                                                                               :—
                                                                                    0      0                         C)
                                                                 0                  CC                                               C                               1)
                                                                                                                     CC
                                                                       a
                                                                       r—
                                                                                                                                     C)
                                                                 -CC   —            -=     *
                                                                                                        a   —
                                                                                                            c)       CC
                                                                                                                                          Q
                                                                                                                                          —              *           —
                                                                                                    —
                                                                                                                                                             -
                                                                                                                                     z    C)
                                                                                    9                       ;:            U
                                                                                                                                                         *
                                                                 a
                                                                                                                          *
                                                                       g                            -z
                                                                                                            c
                                                                                                                                          a
                                                                                                                                                   a
                                                                                                                                                   0
                                                                                                                                                         a
                                                                                                                                                             -
                                                                                                                                                             2       D1)
                                                                 a         -   -                        0
                                                                 C                                                        —
                                                                                                                                          CC
                                                                                                                     o                    P
                                                                                    a                                                                    a   2       p
Case 3:12-mj-02547-DEA




                                                                                                            U
                                                                                                                                               0             —
                                                                                                                                               0         _
                                                                                                                                                                     -     0
                                                                               U                                                               a
                                                                                    9      --       6                                9    0
                                                                               -                                                                                     0
                                                                                    0                       —             -     --
                                                                                                                                               0
                                                                                    a
                                H
                                                                       C)      —-          C                         *
                                                                                                                                                   ci        -
                                                                                                                                                                     a
                                                         —                     cC   a               CC                               —
                                                                 —             CC
                                                                                           aa       —       CC       CC   ‘72             CC                               0
                                .
                                                                                                    a                     —
                                                                                    CJ)-
                                                                                                                                )
                                U
                                ‘‘
                                                     U
                                                                               C)   -
                                                                                    0
                                                                                           CC
                                                                                           ,        p       C.
                                                                                                            —
                                                                                                                                                                     a
                                c;
                                                                                    C.                                          0
                                -
                                - -J-                                  C       CC   C.     r                         U
                                                                               CC   CC     CC               CC                  C)
Case 3:12-mj-02547-DEA             Document
                                       /
                                            117          Filed 04/01/13    Page 2 of 2 PageID: 313
         WI iitRiiNDRI’. on this                day of                       7i’;


         ORDERED that the proceedings in the above—captionco matter are continued from March

     20i3   ilO ‘L   Ii   Li   203   and it ‘s luitiki


         ORDERED ‘dIaL the penci bct een Ibm N larch 1 2. 20 131 hrougn N lay 1 0. 20 1 3 shah

 he excludable in con: putng time anuer tile Speedy ‘Irial Act of 1 974.



                                                  \
                                                  \\
                                                         f
                                                         il,
                                                 /J

                                         H:.DOUCfr4RPEiJ
                                         United Statet Mai’ate J ud,,ie




I”o!lil and entr
consented to:




JO     ‘1IAN ROMANKOW
       nt U.S. Attorney




CHARLES H. WALDRON, Esq.
Counsel for Defendant Matthew Rublowitz
